Case 1:23-cv-10678-WGY Document 348-1 Filed 03/18/24 Page 1 of 5




    Exhibit 1
           Case 1:23-cv-10678-WGY Document 348-1 Filed 03/18/24 Page 2 of 5



JetBlue Announces Termination of Merger Agreement
with Spirit
    news.jetblue.com/latest-news/press-release-details/2024/JetBlue-Announces-Termination-of-Merger-Agreement-with-
Spirit/default.aspx


View all news
03/04/2024

Positions JetBlue to focus on organic strategy and return to profitability

NEW YORK--(BUSINESS WIRE)-- JetBlue (NASDAQ: JBLU) today announced that it has
reached an agreement with Spirit Airlines (NYSE: SAVE) to terminate their July 2022 merger
agreement.

Although both companies continue to believe in the procompetitive benefits of the
combination, JetBlue and Spirit mutually agreed that terminating is the best path forward for
both companies as required closing conditions, including receiving necessary legal and
regulatory approvals, were unlikely to be met by the merger agreement’s outside date of July
24, 2024.

“We believed this merger was worth pursuing because it would have unleashed a national
low-fare, high-value competitor to the Big Four airlines,” said Joanna Geraghty, chief
executive officer, JetBlue. “We are proud of the work we did with Spirit to lay out a vision to
challenge the status quo, but given the hurdles to closing that remain, we decided together
that both airlines’ interests are better served by moving forward independently. We wish the
very best going forward to the entire Spirit team.”

Under the agreement, JetBlue will pay Spirit $69 million and the termination resolves all
outstanding matters related to the transaction and under which any claims between them will
be mutually released.

“JetBlue has a strong organic plan and unique competitive advantages, including a beloved
brand, a unique value proposition, and high-value geographies,” Geraghty continued. “We
have already begun to advance our plan to restore profitability. We look forward to sharing
more on our progress in the coming months.”

As outlined on the company’s fourth quarter earnings call, JetBlue is taking decisive action to
return to sustained profitability and drive shareholder value. As part of this work, the
company is refocusing on its core strengths – deepening its network relevance in proven
geographies and better segmenting its product offerings to enhance its competitive position
– while delivering meaningful cost savings.
         Case 1:23-cv-10678-WGY Document 348-1 Filed 03/18/24 Page 3 of 5


To date, JetBlue has identified multiple near-term revenue initiatives for 2024, including
increased distribution and partnerships, expanded loyalty program functionality, network
initiatives, and ancillary initiatives, which will deliver over $300 million in revenue benefits.
JetBlue also remains on track to deliver $175-200 million in cost savings from its structural
cost program and $75 million in maintenance savings from its fleet modernization, as well as
incremental savings from targeted fixed cost base reductions, positioning the company to
approach breakeven operating margins in 2024. These initiatives are just the starting point
as JetBlue rebuilds its long-term organic strategy with a renewed focus on driving sustained
profitability for its crewmembers and investors.

JetBlue will hold an Investor Day on Thursday, May 30, 2024, to provide additional detail on
its long-term strategy and ongoing revenue and cost initiatives. Further information regarding
Investor Day will be shared with analysts and investors in the coming weeks.

About JetBlue

JetBlue is New York's Hometown Airline®️, and a leading carrier in Boston, Fort Lauderdale-
Hollywood, Los Angeles, Orlando, and San Juan. JetBlue carries customers to more than
100 destinations throughout the United States, Latin America, Caribbean, Canada, and
Europe. For more information and the best fares, visit jetblue.com.

Forward Looking Statements

This press release contains forward-looking statements within the meaning of the Private
Securities Litigation Reform Act of 1995. We intend such forward-looking statements to be
covered by the safe harbor provisions for forward-looking statements contained in Section
27A of the Securities Act and Section 21E of the Exchange Act. All statements other than
statements of historical facts contained in this press release are forward-looking statements.
In some cases, you can identify forward-looking statements by terms such as “expects,”
“plans,” “intends,” “anticipates,” “indicates,” “remains,” “believes,” “estimates,” “forecast,”
“guidance,” “outlook,” “may,” “will,” “should,” “seeks,” “goals,” “targets” or the negative of
these terms or other similar expressions. Additionally, forward-looking statements include
statements that do not relate solely to historical facts, such as statements which identify
uncertainties or trends, discuss the possible future effects of current known trends or
uncertainties, or which indicate that the future effects of known trends or uncertainties cannot
be predicted, guaranteed, or assured. Forward-looking statements involve risks,
uncertainties and assumptions, and are based on information currently available to us.
Actual results may differ materially from those expressed in the forward-looking statements
due to many factors, including, without limitation, the COVID-19 pandemic and government-
imposed measures to control its spread; risk associated with execution of our strategic
operating plans in the near-term and long-term; our extremely competitive industry; risks
related to the long-term nature of our fleet order book; volatility in fuel prices and availability
         Case 1:23-cv-10678-WGY Document 348-1 Filed 03/18/24 Page 4 of 5


of fuel; increased maintenance costs associated with fleet age; costs associated with
salaries, wages and benefits; risks associated with doing business internationally; our
reliance on high daily aircraft utilization; our dependence on the New York metropolitan
market; risks associated with extended interruptions or disruptions in service at our focus
cities; risks associated with airport expenses; risks associated with seasonality and weather;
our reliance on a limited number of suppliers; risks related to new or increased tariffs
imposed on commercial aircraft and related parts imported from outside the United States;
the outcome of legal proceedings with respect to our Northeast Alliance with American
Airlines Group Inc. and our planned wind-down of the Northeast Alliance; risks associated
with cybersecurity and privacy, including information security breaches; heightened
regulatory requirements concerning data security compliance; risks associated with reliance
on, and potential failure of, automated systems to operate our business; our inability to
attract and retain qualified crewmembers; our being subject to potential unionization, work
stoppages, slowdowns or increased labor costs; reputational and business risk from an
accident or incident involving our aircraft; risks associated with damage to our reputation and
the JetBlue brand name; our significant amount of fixed obligations and the ability to service
such obligations; our substantial indebtedness and impact on our ability to meet future
financing needs; financial risks associated with credit card processors; restrictions as a result
of our participation in governmental support programs under the CARES Act, the
Consolidated Appropriations Act, and the American Rescue Plan Act; risks associated with
seeking short-term additional financing liquidity; failure to realize the full value of intangible or
long-lived assets, causing us to record impairments; risks associated with disease outbreaks
or environmental disasters affecting travel behavior; compliance with future environmental
regulations; the impacts of federal budget constraints or federally imposed furloughs; impact
of global climate change and legal, regulatory or market response to such change; changes
in government regulations in our industry; acts of war or terrorism; changes in global
economic conditions or an economic downturn leading to a continuing or accelerated
decrease in demand for air travel; and risks associated with the implementation of 5G
wireless technology near airports that we operate in.

Given the risks and uncertainties surrounding forward-looking statements, you should not
place undue reliance on these statements. You should understand that many important
factors, in addition to those discussed or incorporated by reference in this press release,
could cause our results to differ materially from those expressed in the forward-looking
statements. Further information concerning these and other factors is contained in JetBlue’s
filings with the U.S. Securities and Exchange Commission, including but not limited to, in our
Annual Report on Form 10-K for the year ended December 31, 2023 as may be updated in
our Quarterly Reports on Form 10-Q. In light of these risks and uncertainties, the forward-
looking events discussed in this press release might not occur. Our forward-looking
         Case 1:23-cv-10678-WGY Document 348-1 Filed 03/18/24 Page 5 of 5


statements speak only as of the date of this press release. Other than as required by law, we
undertake no obligation to update or revise forward-looking statements, whether as a result
of new information, future events, or otherwise.



JetBlue Corporate Communications

Tel: +1.718.709.3089

corpcomm@jetblue.com

JetBlue Investor Relations

Tel: +1 718 709 2202

ir@jetblue.com

Source: JetBlue
View all news
